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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: September 06, 2023
                                                      ________________________________________
                                                                 SHAD M. ROBINSON
                                                         UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________


                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION




                                                   T
                                                     §
   In re:                                            §       Chapter 7
                                                     §
   ASTRALABS, INC.                                   §       Case No. 23-10164-SMR
                                                     §
                  Debtor
                                   O                 §


                 ORDER ON ANDREW RYAN’S OMNIBUS CLAIM OBJECTION
  ______________________________________________________________________________
                   O
            Before the Court to be considered is Andrew Ryan’s Omnibus Claims Objection, in the,

  and it appearing to the Court that said objection should be granted, it is therefore hereby

            ORDERED that that the claims listed on Exhibit A be denied.
M

            IT IS FURTHER ORDERED that a copy of this order will be served by the clerk's office

  upon the claimants:

  Keagan Wernicke                                        Michael J Frank
  6016 Price Dr                                          15 Oval Road
  North Richland Hills, TX 76180                         Millburn, NJ 07041−1409
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  Kyle Croyle                                 Maria Sofia Roque Rosales
  3812 Wadford St, Unit A                     5200 King Charles Dr
  Austin, TX 78704                            Austin, TX 78724

  Graham Brown                                Colin Rains
  1113 N Oaks Lane                            9207 Grant Forest Dr.
  North Little Rock, AR 72118                 Austin, TX 78744

  Darlene Murphy                              Joshua Lawton-Belsou
  1000 Solano Drive                           9912 Charthouse Cove
  Austin, TX 78750                            Austin, TX 78730

  Trey Griffin                                Andrew Maniaci
  224 Shirley Drive                           3905 Black Granite Drive
  Buda, TX 78610                              Austin, TX 78744




                                             T
  Fernando Moreno Cortina                     Tarunkumar Patel
  2401 Aldrich St Apt 367                     10 Dillion Ct
  Austin, TX 78723                            Exton, PA 19341
                                O
                                  ### END OF ORDER ###



  Order prepared by:
                O
  Ron Satija
  Hayward PLLC
  7600 Burnet Road, Suite 530
  Austin, TX 78757
  (737) 881-7102
M

  rsatija@haywardfirm.com

  Counsel for Andrew Ryan, Creditor in the
  Bankruptcy Estate of ASTRALABS, INC.
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  EXHIBIT A

   Claimant                      Claim# Amount           Reason for Objection
   Tarunkumar Patel                329      $40,853.00    Equity Interest Claim
   Michael J Frank                 392        $29,693    Employee Stock Grant
   Kyle Croyle                     398       $753,440    Employee Stock Grant
   Graham Brown                    399        $32,000    Employee Stock Grant
   Darlene Murphy                  400       $304,000    Employee Stock Grant
   Trey Griffin                    403         $53,163   Employee Stock Grant
                                            $1,391,099
   Fernando Moreno Cortina         406                   Employee Stock Grant
                                             $131,472
   Fernando Moreno Cortina         407                   Employee Stock Grant
                                             $684,900
   Maria Sofia Roque Rosales       411                   Employee Stock Grant
                                              $33,052
   Colin Rains                     415                   Employee Stock Grant
   Joshua Lawton-Belsou            417      $2,587,264   Employee Stock Grant
   Andrew Maniaci
   Keagan Wernicke
                                   418
                                   419



                                         T  $2,587,264
                                            $3,337,821
                                                         Employee Stock Grant
                                                         Employee Stock Grant
                               O
                  O
M
